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FILED

IN THE UNITED STATES DISTRICT COURT JUL - 1 2021
FOR THE WESTERN DISTRICT OF TEXAS
PECOS DIVISION CLERK, U.S. DISTRICT COUR
ESTER TRAST OF TEXAS
MARY CATHERINE “KATIE” § DEPUTY CLERK
SANCHEZ, §
Plaintiff, §
8
v. § P:19-CV-037-DC
§
PRESIDIO COUNTY, TEXAS, and §
FRANCES GARCIA, §
in her individual capacity, §
Defendants. §

VERDICT
Question 1

Did Plaintiff Katie Sanchez suffer an adverse employment action?

VL

Answer “Yes” or “No.” i

 

If you answered “yes,” proceed to Question 2. If you answered “no,” you are finished.

Question 2
Did Plaintiff Katie Sanchez’s political candidacy motivate Defendant Presidio County's

decision to eliminate the Office of Management and Budget and her position?

Answer “Yes” or “No.” Y G

If you answered “yes,” proceed to Question 3. If you answered “no,” you are finished.

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Question 3

Would Defendant Presidio County have made the decision to eliminate the Office of

Management and Budget and Plaintiffs position in the absence of Plaintiff's political candidacy?

N
Answer “Yes” or “No.” | b

 

If you answered “yes,” you are finished. If you answered “no,” proceed to Question 4.

Question 4

Did Defendant Frances Garcia have a retaliatory animus that caused the elimination of the

Office of Management and Budget and Plaintiff's position?

Answer “Yes” or “No.” Ye 5

 

If you answered “yes,” proceed to Question 5. If you answered “no,” you are finished.

Question 5

Is Defendant Frances Garcia entitled to qualified immunity as to the First Amendment

retaliation claim?

Answer “Yes” or “No.” N d

 

If you answered “no,” proceed to Question 6. If you answered “yes,” you are finished.

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Question 6

Answer the following question only if you answered “no” to Question 3 or “no” to Question

What sum of money, if paid now in cash, would fairly and reasonably compensate Plaintiff
Katie Sanchez for her damages, if any, caused by Defendants Presidio County and/or Frances
Garcia?
Answer in dollars and cents, if any, for the following items:
1. Compensatory damages in the past.
$ S00 000
2. Compensatory damages in the future.

$¢ S5K,000

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Question 7

Answer the following question only if you answered “no” to Question 5.

What sum of money, if paid now in cash, should be assessed against Defendant Frances
Garcia as punitive damages?

Answer in dollars and cents, if any.

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We, the Jury, have unanimously agreed to the answers in the above questions and return

Or: nat Signed hy
—— Jury Foreperson
[/ 22 : / aa
DATE JURY FOREPERSON

such answers to the Court as our verdict.

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